                 IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                          WESTERN DIVISION


U.S. COMMODITY FUTURES              )
TRADING COMMISSION,                 )
          Plaintiff                 )
                                    )
           v.                       )          CIVIL ACTION FILE
                                    )          No. 5:10-CV-85-FL
YELLOWSTONE PARTNERS, INC.          )
and DENNIS TODD HAGEMANN,           )
          Defendants                )


                RECEIVER’S REVISED FINAL REPORT,
       APPLICATION FOR FINAL PAYMENT OF RECEIVERSHIP FEES,
      ______AND MOTION TO CLOSE OUT RECEIVERSHIP CASE______


     NOW COMES the Receiver, L. Bruce McDaniel, and hereby files

this Revised Final Report, Final Application for Receivership

Fees, and Motion to Close Out Receivership Case.

     IN SUPPORT THEREOF, the Receiver would show the court as

follows:

                   RECEIVER’S REVISED FINAL REPORT

                           Background Facts

     1.    On March 9, 2011, the United States Commodity Futures

Trading Commission filed a complaint for injunctive relief,

civil monetary penalties, and other equitable relief including

the appointment of Receiver in the subject proceedings.          On

March 31, 2011, the court issued an order appointing attorney




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L. Bruce McDaniel of Raleigh, North Carolina as Receiver and he

continued to function in that capacity to the date hereof.

     2.   Since his appointment, the Receiver has reconstructed

all relevant bank accounts, has identified all rightful

claimants, and has liquidated all assets of the receivership

estate to cash.   The receivership estate is now ready to be

closed.

                           Investor Claims

     3.   Pursuant to previous court order, the Receiver

established claim procedures and the approval of a claim form,

all approved by the court.     The precise amount ordered to be

distributed to investors, totaling $254,173.39, was duly paid to

claimants who made claims against the receivership estate, the

precise amount ordered by the court.       Those checks were duly

issued and all have been cashed or otherwise negotiated, with

the result that there now remains in the receivership estate the

exact amount of $112.43, the amount roughly estimated by the

Receiver to be available after the negotiation of the

distribution checks.

                              Litigation

     4.   There has been and as of the date hereof no litigation

involving the receivership estate.




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                          Professional Fees

     5.    Other than discussed herein, there are no pending and

unpaid legal fees applied to be paid to the Receiver or any

other professional.

          APPLICATION FOR FINAL PAYMENT OF RECEIVERSHIP FEES

     6.    In view of the foregoing, the Receiver hereby requests

that the court enter an order ordering the payment to him of the

balance in the receivership estate bank account of $112.43, or

such reduced amount as may be available in the event the bank

charges several dollars for the Receiver’s use of counterchecks

in order to make all the distributions previously ordered by the

court, in consideration of the Receiver’s forbearance of some

$590.00, being the shortfall on the Receiver’s last application

for fees due to the unavailability of receivership estate funds,

as well as the subsequent and ongoing work by the Receiver,

including the work necessary to close out the receivership

estate, close the bank account, handle residual claimant

correspondence, and other miscellaneous correspondence, and

other similar termination matters involved in the termination of

the receivership estate, as well as storing the receivership

records for a reasonable amount of time and subsequently

disposing of the same.




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               MOTION TO CLOSE OUT RECEIVERSHIP CASE

     7.   In view of the foregoing, the Receiver hereby moves the

court to enter an order approving the Receiver’s Revised Final

Report set forth hereinbefore, ordering the payment of the net

amount in the receivership estate bank account of some $112.43

or such lesser amount as may be available in the bank account at

that time, in order to close out the bank account, and otherwise

terminate the receivership and close the subject case.

     8.   More specifically, the Receiver requests that the court

enter an order that the Receiver retain the receivership records

for a reasonable time thereafter and, at his discretion,

subsequently abandon and/or destroy all records relating to the

receivership estate as the Receiver subsequently deems proper,

closing the receivership estate to any further proceedings,

absent any good cause shown, and discharging the Receiver from

any further services or responsibility to the receivership

estate.

     This the 24th day of April, 2014.


                                       /s/L. Bruce McDaniel_________
                                       L. Bruce McDaniel
                                       Receiver for Defendants
                                       N.C. State Bar No. 5025
                                       Post Office Box 58186
                                       Raleigh, North Carolina 27658
                                       Tel: (919) 872-3000
                                       Fax: (919) 790-9273
                                       mcdas@mcdas.com


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                       CERTIFICATE OF SERVICE

     This is to certify that the undersigned has this day served

a copy of the foregoing document upon all parties of record by

depositing a copy of the same in the custody of the U.S. Postal

Service, first class postage prepaid, addressed as follows:

Dennis Todd Hagemann
Inmate No. 1274358
Individually & as President of
Yellowstone Partners, Inc.
Nash Correctional Center
Box 600
Nashville, NC 27856

Mr. Jason Mahoney
U.S. Commodity Futures
   Trading Commission
Three Lafayette Center
Washington, DC 20581

Federal Trade Commission
ATTN: Gregory A. Ashe
600 Pennsylvania Avenue, N.W.
Room NJ-3158
Washington, D.C. 20580

     This the 24th day of April, 2014.



                                       /s/L. Bruce McDaniel_________
                                       L. Bruce McDaniel
                                       Receiver for Defendants
                                       N.C. State Bar No. 5025
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